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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                                      :
UNITED STATES OF AMERICA                              :
                                                      :     CRIMINAL NO. 2:19-cr-0064
v.                                                    :
                                                      :                                        :
JOHN DOUGHERTY and                                    :
ROBERT HENON                                          :
                                                      :
__________________________________________

        MEMORANDUM OF LAW IN SUPPORT OF MOTION OF DEFENDANT
            JOHN DOUGHERTY FOR JUDGMENT OF ACQUITTAL

I.      INTRODUCTION

        “The issue is Mr. Henon’s employment and everybody knows that.” (Costello, F. 4:13-

14 (Tr. Day 8 (Oct. 15, 2021)).

        “[T]he relevant timing in a bribery case is that of the agreement.” United States v.

Menendez, 291 F. Supp. 3d 606, 620 (D.N.J. 2018) (a stream of benefits case) (emphasis added).

The government must prove “that the public official received a thing of value knowing that it

was given with the expectation that the official would perform an ‘official act’ in return.”

United States v. McDonnell, 136 S. Ct. 2355, 2371 (2016) (also a stream of benefits case)

(emphasis added). “Indeed, without a requirement that an official promise to influence a

particular question or matter, any official who accepts a thing of value and then later acts to the

benefit of the donor, in any manner, could be vulnerable to criminal prosecution.” United States

v. Silver, 948 F.3d 538, 558 (2d Cir. 2020) (also a stream of benefits case where quid included

fees earned from client referrals and intent was evaluated from time referral arrangement was

entered) (emphasis added).




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         There has never been a case like this. Never. There has never been a case where the

Government has based a bribery prosecution on a public official’s pre-existing lawful

employment. Never. There has never been a prosecution where a public official legally

received a thing of value then, mid-stream and without any evidence or explanation for this

metamorphosis, that very same thing of value morphed into an illicit quid in a bribery scheme.

Never.

         To send this case to the jury, the Court must accept that John Dougherty – personally,

because this is a criminal prosecution and guilt can only be established from the Defendant’s

personal conduct – made salary payments to Robert Henon in 2015 to influence him to take

official action even though the facts unequivocally establish that Brian Burrows gave Mr. Henon

that salary in 2012. In other words, the Court must accept the legal fiction that a corrupt

agreement centered on Mr. Henon’s employment and salary can be inferred from conduct in

2015 by rejecting the actual, literal facts that an actual, literal agreement centered on Mr.

Henon’s employment and salary was entered three years earlier. While there are two options,

there is no choice. The Court cannot possibly permit the Government to present such a

misleading and disingenuous premise to the jury. A case that never should have been brought

cannot be permitted to go forward.1

         Although the Government artfully pled that Mr. Henon received a salary during the time

of the charged conspiracy, it knew and “everybody knows,” the central questions for the jury and

the Court now that the facts, not allegations and not the Government’s “theory”, control are:

when did John Dougherty – personally – give Mr. Henon this thing of value and when did Mr.

Henon first accept it. This is so because bribery prosecutions (including those under the stream

1
         This was argued during on Defendants’ motion to dismiss and is particularly evidence not
         that the Government has presented its case to the jury.



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of benefits theory) arise from – and this one falls on – the central element of a quid pro quo; that

the briber gave a thing or things of value and the public official accepted a thing or things of

value knowing at the time of this exchange that the thing of value is for the public official’s

performance of “official action.” And the quo contemplated by the Defendants at the time of the

quid pro quo must meet the definition of “official action” set forth by the Supreme Court, which

requires the Defendants have contemplated “specific and focused” matters on which the public

official would later take some action at the time of the agreement. Under the applicable

standards and actual facts, there was never any possibility the Government could prove guilt here

and it, predictably, has not.

        Under Supreme Court precedent and every case that is binding on this Court, the

Government must prove that the Defendants possessed the requisite intent to influence and be

influenced, respectively, at the time the quid pro quo – the agreement to exchange a thing or

things of value (quid) for (pro) official action (quo) – was formed. And, until today, the

Government has benefitted from, first, a probable cause standard on the Grand Jury’s approval of

the Indictment and, second, myriad presumptions and inferences on Defendants’ Motion to

Dismiss, to avoid confronting the reality that the giving and receipt of the alleged quid – “Mr.

Henon’s employment” – predated the actions taken by Mr. Henon described at trial and outlined

in the Indictment (the quos) by three years. Consequently, the Government has benefitted from

procedural standards to avoid until now that it must prove beyond a reasonable doubt the pro:

that “Mr. Henon’s employment” was given and accepted in 2012 with the specific intent to

influence “official action” – as defined in McDonnell – in 2015 and 2016. We raised many of

these arguments on our Motion to Dismiss and the Court, properly, found the Government was




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entitled to put on its evidence before the legal sufficiency of its case could be evaluated. The

Government has now concluded its case and its case unquestionably fails.

        We describe herein multiple legal flaws with the Government’s case that must prevent its

presentation to the jury. But, the most glaring is the most fundamental. The Government has

offered no evidence – none – to prove that Mr. Henon’s employment was given and accepted

with the specific intent to influence the “official action” described at trial. Indeed, in trying to

excuse its own failure of proof by repeatedly explaining it was not up on a wire from 2012 to

2015, the Government only admits and highlights that it has no such proof. Yet, the quid pro

quo evidence the Government was unable to acquire from 2012 to 2015 is the keystone of every

bribery prosecution and its utter and complete absence here means the Government has utterly

and completely failed to prove the existence of a quid pro quo agreement and, therefore, its

honest services fraud theory. The jury may not be permitted to guess what occurred in 2012 and

why. And, the Government is no longer permitted to avoid the facts and the law. The

Government’s failure to even attempt – let alone succeed – to prove a quid pro quo under the

applicable standards set forth by the Supreme Court means the Government has failed to present

sufficient evidence to sustain a conviction here. Thus, the Court must enter judgment of

acquittal.

II.     STANDARD OF REVIEW

        Rule 29 of the Federal Rules of Criminal Procedure provides that, upon motion of a

defendant, a district court “must enter judgment of acquittal of any offense for which the

evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). “The Court must grant

the motion and enter a judgment of acquittal ‘of any offense for which the evidence is

insufficient to sustain a conviction.’” United States v. Pawlowski, 351 F. Supp. 3d 840, 848

(E.D. Pa. 2018) (quoting Fed. R. Crim. P. 29) (granting in part Defendant’s Rule 29 motion). In


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ruling on a motion pursuant to Rule 29, a district court “must determine whether any rational

trier of fact could have found proof of the defendant’s guilt beyond a reasonable doubt based

upon the available evidence presented at trial.” United States v. Lenegan, No. 07-CR-689, 2009

WL 1587468, at *2 (E.D. Pa. June 4, 2009) (citing United States v. Smith, 294 F.3d 473, 478 (3d

Cir. 2002)). Viewing the evidence as a whole and in the light most favorable to the government,

United States v. Hoffecker, 530 F.3d 137, 146 (3d Cir. 2008), a judgment of acquittal should be

entered “if no reasonable juror could accept the evidence as sufficient to support the conclusion

of the defendant’s guilt beyond a reasonable doubt.” United States v. Coleman, 811 F.2d 804,

807 (3d Cir. 1987); see also United States v. Salmon, 944 F.2d 1106, 1113 (3d Cir. 1991) (noting

that a court must “determine whether a reasonable jury believing the government’s evidence

could find beyond a reasonable doubt that the government proved all elements of the offenses”);

United States v. Fattah, 223 F. Supp. 36 336, 342 (E.D. Pa. 2016) (same).

III.    DISCUSSION

        A.      The Government Has Failed to Prove the Defendants
                Engaged in a Quid Pro Quo

                An official who merely accepts a thing of value in an otherwise
                legal manner (e.g. client referrals, as permitted under New York
                law) has not committed a crime. If that official later acts to the
                benefit of the payor, she still has not committed a crime. It is only
                upon a showing that, at the time the official accepted the payment,
                she understood it to be a payment in exchange for official
                influence on some specific, focused, and concrete matter2
                involving the formal exercise of governmental power that the
                Government has met its burden.

United States v. Silver, 948 F.3d 538, 577 (2d Cir. 2020).




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        See Section B below for the definition of “official act” under McDonnell and how this
        definition clarifies and narrows the Defendants’ requisite intent.



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                The Second Circuit spoke from the perspective of a public official charged with

bribery, but the flipside is also plainly true: providing a public official an otherwise legal thing of

value is not a crime. United States v. Sawyer, 85 F.3d 713, 741 (1st Cir. 1996) (reversing

convictions where the court failed to instruct the jury that a lobbyist did not commit honest

services wire fraud after paying for officials’ meals, taking legislators golfing, and providing

other entertainment “if his intent was limited to the cultivation of business or political

friendship”); see also United States v. Bryant, 655 F.3d 232, 245 (3d Cir. 2011) (explaining that

a “key passage” in the district court’s jury instructions included: “[N]ot every payment made to a

public official constitutes a bribe. A payment made in a general attempt to build goodwill or

curry favor with a public official, without more, does not constitute a bribe”). Doing so and later

benefiting from some official action is still not a crime. See United States v. Kemp, 500 F.3d

257, 281 (3d Cir. 2007) (distinguishing illegal quid pro quo bribery from “a mere intent to curry

favor” because “there is a critical difference between bribery and generalized gifts provided in an

attempt to build goodwill”); United States v. Lynch, 807 F. Supp. 2d 224, 232 (E.D. Pa. 2011)

(vacating honest services wire fraud conviction when information failed to allege “any intent on

the part of [the payor] with respect to specific actions at the time of the improper payment”).

                “[F]or bribery, there must be a quid pro quo – a specific intent to give or receive

something of value in exchange for an official act.” United States v. Sun-Diamond Growers of

California, 526 U.S. 398, 404-05 (1999). To establish a quid pro quo, the Third Circuit has held

that the Government must prove that “the payor provided a benefit to a public official intending

that he will thereby take favorable official acts that he would not otherwise take.” United States

v. Wright, 665 F.3d 560, 568 (3d Cir. 2012) (stream of benefits case). In turn, as concerns the




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public official, the Government must prove that “the official accepted those benefits intending, in

exchange for the benefits, to take official acts to benefit the payor.” Id.

                The pro in quid pro quo – established through evidence the defendants possessed

the relevant intents described above – is the lynchpin of bribery. See United States v. Sun-

Diamond Growers, 526 U.S. 398, 404-05 (1999) (“In other words, for bribery there must be a

quid pro quo – a specific intent to give or receive something of value in exchange for an official

act.”) (emphasis in original); see also United States v. Bryant, 556 F. Supp. 2d 378, 391 (D.N.J.

2008) (“Thus, the ‘specific intent to . . . receive something of value in exchange for an official

act’ is another way of stating that the official had an intent ‘to be influenced in an official act.’”)

(quoting id.)). The government must prove “that the public official received a thing of value

knowing that it was given with the expectation that the official would perform an ‘official act’ in

return.” United States v. McDonnell, 136 S. Ct. 2355, 2371 (2016). See also United States v.

Menendez, 291 F. Supp. 3d 606, 615 (D.N.J. 2018) (quoting United States v. Ganim, 510 F.3d

134, 146 (2d Cir. 2007)) (“‘[I]t is the requirement of an intent to perform an act in exchange for a

benefit—i.e., the quid pro quo agreement—that distinguishes those crimes from both legal and

illegal gratuities.”’). In other words, the Government must prove that at the time the quid was

given, both parties understood it was in payment for quos – the performance of official action.

United States v. Kemp, 500 F.3d 257, 282 (3d Cir. 2007) (The key to whether a payment

“constitutes a bribe is whether the parties intended for the benefit to be made in exchange for

some official action”). “Without proof of corrupt intent on the payor’s part, a bribery

conviction is impossible.” United States v. Jennings, 160 F.3d 1006, 1014 (4th Cir. 1998)

(emphasis added).




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                It did not take four weeks of testimony to arrive at this point. The Government’s

theory is that John Dougherty gave Mr. Henon a job at Local 98 and Mr. Henon accepted a job at

Local 98 in exchange for Mr. Henon taking action on the six matters outlined in the Indictment.

The Government explicitly stated that the quid in this case is “Mr. Henon’s employment.” The

Government expanded on this, explaining their theory is that “Mr. Dougherty pretty much ran

the show,” (Costello, F. 6: 15-15 (Tr. Day 8 (Oct. 15, 2021)), thus it proffers that Mr. Dougherty

can be held personally responsible for Mr. Henon’s employment. This is the heart of the

Government’s case. The question, then, is simple: Did Mr. Dougherty subjectively intend “Mr.

Henon’s employment” to influence Mr. Henon to “take favorable official acts that he would not

otherwise take,” United States v. Wright, 665 F.3d 560, 568 (3d Cir. 2012); and did Mr. Henon

accept his employment “intending, in exchange for the benefits, to take official acts to benefit the

payor,” id.? These questions, and, thus, the Government’s entire case, hinge on the Defendants’

intent at the time “Mr. Henon’s employment” was given and received, which according to the

Government’s evidence occurred in 2012.

                To establish the giving and receipt of the quids alleged – Mr. Henon’s salary and

benefits – the Government proffered the testimony of Don Judge, Local 98 bookkeeper. (Tr.

Day 8 (Oct. 15, 2021)). Mr. Judge essentially placed an exact date on that critical event:

February 20, 2012 when he received from Brian Burrows, Local 98 President, direction to begin

providing Mr. Henon a salary based on 20 hours of work per week and benefits calculated from

27 hours of work per week. (Id. 34:19 – 36:4). As an initial matter, the Government not only

failed to prove that John Dougherty “gave” Mr. Henon the alleged quid, it proved definitively

that he did not, Brian Burrows did:

                Q. Okay. Well, let’s talk about your style for a minute.

                A. Okay.


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                 Q. So, would your style be to confirm that that directive indeed
                 came from Mr. Burrows?

                 A. Yes. In other words, to confirm or be comfortable as best I
                 can.

(Id. 37:14-20)

                 Mr. Judge later confirmed Mr. Dougherty was not involved in this decision-

making:

                 Q. And so that note indicates that you received this direction from
                 Brian Burrows, correct?

                 A. That’s right.

                 Q. Brian, who you said was Brian Burrows?

                 A. That’s correct.

                 Q. And he is the President of Local 98?

                 A. Yes.

                 Q. So, you didn’t receive this direction from Mr. Dougherty
                 regarding the change that occurred in 2012, correct?

                 A. I did not.

(Id. at 59:16 – 60:1).

                 This testimony alone eviscerates the Government’s premise that Mr. Dougherty

gave Mr. Henon the alleged bribe. “[A]n individual may not be convicted on the basis of another

person’s acts which he neither authorized nor adopted.” United States v. Cryan, 490 F. Supp.

1234, 1242 (D.N.J. 1980) (holding that co-defendants could not be convicted for bribery where

they had no involvement in the execution of the bribery scheme). See also United States v.

Williams, 203 F. App'x 976, 988 (11th Cir. 2006) (explaining that mere association is not enough

to establish criminal liability).




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                Setting this basic deficiency aside, and assuming for sake of argument only that

Mr. Dougherty can be held responsible for Mr. Henon’s employment, we merely arrive back at

the fundamental flaw in this case: Mr. Dougherty can be held responsible for Mr. Henon’s salary

only based on the initial decision to give it to him, which occurred in 2012. Thus, did Mr.

Dougherty intend “Mr. Henon’s employment,” in 2012, to constitute a bribe? The Government

has provided no evidence whatsoever to establish the Defendants’ intent in 2012. There are no

facts to describe, discuss or distinguish. No testimony to examine and parse. No documentation

to scrutinize. The Government has proffered nothing to address this question, which lies at the

heart of this prosecution.

                As expected, the Government has trotted-out the general bribery principle that

bribery’s “quid pro quo requirement is satisfied so long as the evidence shows a course of

conduct of favors and gifts flowing to a public official in exchange for a pattern of official

actions favorable to the donor.” United States v. Kemp, 500 F.3d 257, 282 (3d Cir. 2007). See

also United States v. Davis, No. 15-138-1, 2018 U.S. Dist. LEXIS 155755, at *8 (E.D. Pa. Sep.

12, 2018) (noting that under a stream of benefits theory, the government need not show “that

each quid, or item of value, be linked to a specific quo, or official act.”). However, for the Court

to accept that premise it must make two decisions that flagrantly contradict the evidence: First, it

must ignore that there is no pattern of payments and official action from which to draw such an

inference because of the three-year period during which Mr. Henon received the quids – salary

and benefits – and performed no quos – official actions. Thus, there was no pattern from which a

jury could infer an agreement. Never has a Court permitted a prosecution with this kind of

temporal gap. Accordingly, to allow this case to proceed, the Court must accept as the

Government pretends that the weekly payments to Mr. Henon from January 2012 to May 2015




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did not happen. Second, it must conclude that John Dougherty personally gave Mr. Henon his

salary payments or authorized them during the alleged conspiratorial timeframe. Without

making both of these decisions, the Court cannot accept the Government’s argument.

                As to the latter, the evidence shows that Mr. Dougherty had nothing whatsoever

to do with Mr. Henon’s salary, whether in 2015 or 2012. All salary payments were automatic

deposits made directly from Local 98 to Mr. Henon’s bank account through automaticly

scheduled ACH deposits that were set-up no later than in 2012 and with which Mr. Dougherty

had nothing whatsoever to do:

                Q. Agent Capra, you discussed the manner in which funds were
                deposited into Mr. Henon’s account, correct?

                A. Correct. His personal bank account.

                Q. Correct. And you said that they were electronically deposited
                into his bank account, correct?

                A. Correct.

                Q. So, that’s direct deposit, right?

                A. Correct.

                Q. What many people use to have the funds automatically
                transferred, right?

                A. That is correct.

                Q. And that’s an automated process, right?

                A. Correct. That’s automated. Usually when you start a job,
                they’ll say how to you want to get paid. Yes.

                Q. That’s right. So when – now Councilman Henon, but when
                Mr. Henon in 2003 and started with Local 98, he set up a direct
                deposit?

                A. I don’t know exactly when he set it up, but I do know during –
                he had direct deposit.




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                Q. We can agree then that in 2012 when he became a
                Councilmember, his funds were directly deposited into his account,
                correct?

                A. That’s correct.

                Q. Which means that nobody was sitting at a computer actually
                pushing a button to send him money every week for his paycheck,
                right?

                A. Someone at Paychex is doing what they do. I don’t know
                specifically. I’m not trying to not – I don’t know the process.

                Q. I appreciate that. But it’s somebody at Paychex, correct?

                A. Correct.

                Q. It's not Mr. Dougherty, right?

                A. Correct.

                Q. So Mr. Dougherty is not sitting at a computer and actually
                sending the funds to Mr. Henon or Councilman Henon every week,
                right?

                A. Correct.

                (Capra, L. 88:19 – 90:8 (Tr. Day 8 (Oct. 15, 2012)).

Contra United States v. Bryant, 655 F.3d 232, 241-42 (3d Cir. 2011) (Defendant’s three years of

fraudulent employment payments and subsequent cover-up of payments was evidence of intent

to enter into quid pro quo bribery). Even if John Dougherty originally authorized the

establishment of this automatic payment system three years prior to the events outlined in the

Indictment – and he didn’t, Brian Burrows, Local 98 President and Mr. Judge did – that fact

would mean there is no temporal link between his authorization of those payments in 2012 and

Henon’s actions in 2015 and 2016 and, thus, no inference that John Dougherty subjectively

intended for those payments to influence Mr. Henon’s charged actions in 2015. Subjective intent

cannot be imputed to John Dougherty from the automated actions of a computer program. See




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also United States v. Feldman, 338 F.3d 212, 216 (3d Cir. 2003) (affirming district court’s

determination that intent could be inferred from the defendant’s own actions).

                As to the former point, this theory completely ignores the three-year time period

during which the quid was given and there were no alleged official actions given in return.

Three years. United States v. Silver, 948 F.3d 538, 556 (2d Cir. 2020) (Stream of benefits case.

“The relevant point in time in a quid pro quo bribery scheme is the moment at which the public

official accepts the payment.”) (internal quotations omitted) (emphasis in the original). In other

words, because the Government has not and cannot prove that there was a bribery arrangement

from 2012 to 2015, a jury cannot infer that the Defendants possessed the relevant intent in 2012

for Mr. Henon’s employment to influence his actions in 2015 and 2016. See id; see also United

States v. Menendez, 291 F. Supp. 3d 606, 614-15 (D.N.J. 2018) (Stream of benefits case. “The

Government has always been required to prove that a public official agreed to perform an official

act at the time of the alleged quid pro quo.”) (internal quotations omitted).

                There is no possible formulation of facts and law that would permit the jury to

find that John Dougherty personally bribed Robert Henon with his Local 98 employment.

        B.      Even if the Government Had Produced Any Evidence of Intent during the
                Relevant Timeframe, they Have Not Provided Evidence that the Defendants
                Contemplated Official Action As Defined By McDonnell

                To be clear, the Government proffered no evidence whatsoever of the Defendants’

state of mind in 2012 and for that reason, this case cannot go any further. Accurately applying

the Supreme Court’s decision in McDonnell narrowing the definition of “official action” to the

intent requirements illustrates that the Government could have never conceivably met its burden.

Under McDonnell, the “question, matter, suit, proceeding or controversy” upon which the public

official would later take some action or make some decision must have been “specific and

focused” at the time of the quid pro quo. Therefore, under McDonnell – a stream of benefits


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case – the Government cannot sustain a conviction here against Mr. Dougherty unless it proves

beyond a reasonable doubt that Mr. Dougherty intended at the time of the quid pro quo to

influence Mr. Henon to take some action or make some decision on the six “specific and

focused” “questions or matters”3 alleged in the Indictment. Similarly, the Government cannot

sustain a conviction here against Mr. Henon unless it proves beyond a reasonable doubt that he

accepted a job at Local 98 in 2012 knowing at the time of the quid pro quo that it was given to

him with the intent to influence his actions on the six “specific and focused” “questions or

matters” alleged in the indictment.

                Prior to McDonnell, the Government could and did rely on broader and vaguer

conceptions of “official action” to encompass “any decision or action, on any question or matter,

that may at any time be pending, or which may by law be brought before any public official, in

such official’s official capacity.” McDonnell, 136 S. Ct. at 2367 (emphasis in original); See, e.g.,

United States v. Ozcelik, 527 F.3d 88, 97 (3d Cir. 2008) (affirming jury instructions, pre-

McDonnell, that defined an “official act” as “any decision or act on any question or matter which

at any time may be pending or which may by law be brought before any public official in his or

her capacity or in his or her place of trust. The term . . . ‘official act[]’ includes the decisions or

actions generally expected of a public official.”). Under this pre-McDonnell formulation, so long

as a briber made payments to a public official with the intent that the public official would take

any action in his official capacity on any question or matter that may arise at some point in the

future, the government could establish the requisite intent. See Fattah, 914 F.3d at 154; Ozcelik,


3
        Those “questions or matters” are: (1) the legality of the installation of MRI machines at
        CHOP; (2) whether to support legislation concerning the International Plumbing Code;
        (3) whether to support the Soda Tax; (4) negotiation of the Comcast Franchise
        Agreement; (5) whether to introduce a towing-related resolution; and (6) whether to
        support an audit of the Philadelphia Parking Authority.



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527 F.3d at 97. McDonnell fundamentally changed this because “any” “official action” has been

replaced with action on “specific and focused” questions or matters. Silver, 948 F.3d at 555

(“The Supreme Court, citing concerns that the ‘standardless sweep’ of this definition could

‘subject [public officials] to prosecution, without fair notice, for the most prosaic interactions,’

found these instructions to be inadequate. It explained that, in order to ‘avoid[] this 'vagueness

shoal,” a narrower definition of "official act" was necessary.”) (internal citations omitted).

        In McDonnell, the Supreme Court unequivocally rejected the Government’s broad

conception of “official action,” by narrowing and defining with precision what Defendants must

have contemplated at the time of the alleged quid pro quo. Id. at 2373. See also, Silver, 948

F.3d at 553 (holding that under McDonnell, bribery prosecutions require more than a nonspecific

promise to undertake official action on any future matter beneficial to the payor).

        The McDonnell Court explained that “official action” has two components. First, the

government must “identify a ‘question matter, cause, suit, proceeding or controversy’ that ‘may

at any time be pending’ or ‘may be law be brought’ before a public official.” 136 S. Ct at 2368

(quoting 18 U.S.C. § 201(a)(3)). Second, the government “must prove that the public official

made a decision or took an action ‘on’ that question, matter cause, suit, proceeding, or

controversy, or agreed to do so.” Id. (emphasis added).

        A “question, matter, cause, suit, proceeding or controversy,” must be “a formal exercise

of governmental power that is similar in nature to a lawsuit before a court, a determination

before an agency, or a hearing before a committee.” Id. at 2372. Importantly, the Court

explained that “it must also be something specific and focused that is ‘pending’ or ‘may by law

be brought before a public official.’” Id. (emphasis added); see also id. at 2374 (noting that the

“‘question matter cause suit proceeding or controversy’ must be more specific and focused than a




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broad policy objective.”). The Court further described it as “something that is relatively

circumscribed – the kind of thing that can be put on an agenda, tracked for progress, and then

checked off as complete.” Id. at 2369.

        Second, the government must demonstrate that the public official “made a decision or

take an action on that question or matter, or agreed to do so.” Id. at 2370. Not every decision or

action “customarily performed by a public official, such as the myriad decisions to refer a

constituent to another official,” however, constitutes an “official act.” Id. at 2371. Where the

government alleges that the public official influenced another public official to act, it must

demonstrate that the official used his “position to exert pressure on another official to perform an

‘official act,’ or to advise another official, knowing or intending that such advice will form the

basis for an ‘official act’ by another official.” Id. at 2372. Indeed, the Court in McDonnell was

clear – “[s]etting up a meeting, talking to another official, or organizing an event (or agreeing to

do so) – without more” does not constitute and official act. Id.

                McDonnell fundamentally altered the intent required to support a bribery

conviction because the requisite intent for both briber and public official require the Defendants

contemplate at the time of the quid pro quo that the benefit was given in exchange for “properly

defined” “official action.” Id. at 2375 (jury must find defendant “agreed to make a decision or

take an action on a properly defined ‘question, matter, cause, suit, proceeding or controversy”).

Indeed, the Supreme Court emphasized that the relevant point in time in a bribery scheme is the

moment the public official accepts the payment. Id. at 2365 (“[T]he offense is completed at the

time when the public official receives a payment in return for his agreement to perform specific

acts.”) (emphasis added). As noted above, the requisite intents are that: “the payor provided a

benefit to a public official intending that he will thereby take favorable official acts that he would




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not otherwise take,” and “the official accepted those benefits intending, in exchange for the

benefits, to take official acts to benefit the payor.” United States v. Wright, 665 F.3d 560, 568

(3d Cir. 2012). Properly defining “official action” according to McDonnell in each standard

results as follows:

               Payor: “provided a benefit to a public official intending that he will thereby
                [“make a decision or take an action on” “a formal exercise of governmental
                power that is similar in nature to a lawsuit before a court, a determination before
                an agency, or a hearing before a committee” that “must also be something specific
                and focused that is ‘pending’ or ‘may by law be brought before a public official”]
                that he would not otherwise take.

               Public Official: accepted those benefits intending, in exchange for the benefits, to
                [“make a decision or take an action on” “a formal exercise of governmental
                power that is similar in nature to a lawsuit before a court, a determination before
                an agency, or a hearing before a committee” that “must also be something specific
                and focused that is ‘pending’ or ‘may by law be brought before a public official”]
                to benefit the payor.

                In other words, because, as the Supreme Court emphasized, the relevant time-

period in a bribery prosecution is the moment the quid pro quo was formed, the Defendants must

have contemplated “properly defined” “official action” at that moment, which involves some

action on “specific and focused” questions or matters. Id. at 2374.

                Here, under McDonnell, the Government is required to prove that at the time Mr.

Dougherty and Mr. Henon agreed to the alleged quid pro quo – which, as discussed above, as a

factual matter could have occurred only in 2012 – they both contemplated that the Mr. Henon

would take some action on the “specific and focused” “questions or matters” alleged. See, e.g.,

Silver, 948 F.3d at 569 (for bribery prosecution, Government must prove that, “at the time the

bribe was accepted [the public official] agreed to take official action on a specific and focused

question or matter”).




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                The Government cannot plausibly dispute this application of the Supreme Court’s

unequivocal words. Indeed, from the perspective of the public official, the Second Circuit

parsimoniously set forth this analysis, concluding:

                McDonnell thus stands for the proposition that bribery requires that
                an official accept a payment, knowing that he is expected to use his
                office to influence a “focused,” “concrete,” and “specific” question
                or matter that “may be understood to refer to a formal exercise of
                governmental power. . . . And, absent a promise, there is no quid
                pro quo.

Silver, 948 F.3d at 557. Because the Second Circuit’s decision merely applied the Supreme

Court’s definition of “official action” to the intent required of a public official, there is no

meaningful reason why the same analysis does not produce the same result when applied to the

requisite intent of the briber because it also requires contemplation of “official action.”

                To the extent the Government contends the Defendants need not have

contemplated “specific and focused” questions and matters at the time of the quid pro quo, it

necessarily argues that the Defendants did not contemplate “official action” as “properly

defined” by the Supreme Court. In other words, the Government is certain to argue that an

agreement to take official action on any “question or matter” that arises in the future satisfies the

quid pro quo requirement.4 However, this position is squarely at odd with the Supreme Court’s


4
        As the Second Circuit explained: “This point is illustrated in the context of this case by
        considering the following example: An official accepts a bribe, stating to the payor that
        she will ‘take official acts as the opportunities arise.’ In other words, the official has
        promised to take – as the opportunities arise – ‘any decision or action on any question,
        matter, cause, suit, proceeding or controversy [that] may be pending,’ 18 U.S.C.
        § 201(a)(3) (emphasis added), a promise so vague as to be meaningless. The official has
        not agreed to take official action on a properly defined – i.e. docused, concrete and
        specific – question or matter. The official has failed to offer a quo. Absent any
        additional specificity, criminal liability could attach to any later action the official takes
        so long as the official is exercising some ability granted to him or her by law, regardless
        of the fact that the official essentially promised nothing in return for the payment.”
        Silver, 948 F.3d 557.



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explicit language that the official must promise to act on “specific and focused” questions or

matters “at the time when the public official receives a payment in return for his agreement to

perform specific acts.” Id. at 2465. As the Second Circuit held, under McDonnell, “for an

official to promise to perform an official act – and thereby engage in the prohibited quid pro quo

– the official must promise to act on an identified ‘question, matter, cause, suit, proceeding, or

controversy’ at the time of the promise.” Silver, 948 F.3d at 556.

                 The Supreme Court’s explanation for why such a limitation on bribery

prosecutions is not only necessary but vital to our system of government could have been written

for this case:

                 In the government’s view, nearly anything a public official accepts
                 – from a campaign contribution to lunch – couns as a quid; and
                 nearly anything a public official dos – from arranging a meeting to
                 inviting a guest to an event – counts as a quo.

                 But conscientious public official arrange meetings for
                 constituents, contact other officials on their behalf, and include
                 them in events all the time. The basic compact underlying
                 representative government assumes that public officials will hear
                 from their constituents and act appropriately on their concerns –
                 whether it is the union official worried about a plant closing or the
                 homeowners who wonder why it took five days to restore power to
                 their neighborhood after a storm. The Government’s position
                 could cast a pall of potential prosecution over these relationships if
                 the union had given a campaign contribution in the past or the
                 homeowner invited the official to join them on their annual
                 outing to the ballgame. Officials might wonder whether they
                 could respond to even the most commonplace requests for
                 assistance, and citizens with legitimate concerns might shrink from
                 participating in democratic discourse. This concern is substantial.

                 …

                 A related concern is that, under the Government’s interpretation,
                 the term ‘official act’ is not defined ‘with sufficient definiteness
                 that ordinary people can understand what conduct is prohibited,’
                 or ‘in a manner that does not encourage arbitrary and
                 discriminatory enforcement.’ Under the standardless sweep of the
                 Government’s reading, public officials could be subject to


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                prosecution, without fair notice, for the most prosaic interactions.
                ‘Invoking so shapeless a provision to condemn someone to prison
                for up to 15 years raises the serious concern that the provision does
                not comport with the Constitution’s guarantee of due process. Our
                more constrained interpretation of § 201(a)(3) avoids this
                ‘vagueness shoal.’

                The Government’s position also raises significant federalism
                concerns. A state defines itself as a sovereign through ‘the
                structure of its government, and the character of thse who exercise
                government authority.’ That includes the prerogative to regulate
                the permissible scope of interactions between state officials and
                their constituents. Here, where a more limited interpretation of
                ‘official act’ is supported by both text and precedent, we decline to
                ‘construe the statute in a manner that leaves its outer boundaries
                ambiguous and involves the Federal Government in setting
                standards’ of ‘good government for local and state officials.’”

McDonnell, 136 S. Ct. at 2372-73.

                The Supreme Court could not have described and predicted against the

Government’s overreach in this case any clearer or with more precision had it sat through this

trial.

                The Government has offered no evidence that the Defendants contemplated at the

time “Mr. Henon’s employment” was given and accepted the six “specific and focused”

questions and matters alleged because no such evidence could possibly exist under the

Government’s theory. Four alleged questions or matters involve purely spontaneous issues,

which the Defendants could not have conceived of in advance: (1) the legality of the installation

of MRI machines at CHOP; (2) the towing resolution; (3) the Parking Authority Audit; and (4)

the Plumbing Code legislation. The Soda Tax legislation emerged as an issue only after Mayor

Kenney was elected to office in 2016. And, concerning the Comcast Franchise Agreement,

while it arguably was capable of advance consideration, the Government has not presented a

single piece of evidence that the Defendants did contemplate Mr. Henon taking some action on

the Comcast Franchise Agreement when he accepted his job at Local 98 in 2012. Accordingly,


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the Government has not – because it could not – produced any evidence that the Defendants

understood Mr. Henon’s employment was in exchange for some action on these six “specific and

focused” questions or matters. The Government has, therefore, failed to prove the Defendants

possessed the requisite intent to sustain convictions here.

        C.      Each Alleged “Official Act” Fails for Various Reasons.

                1.     Children’s Hospital of Philadelphia

        The Government’s comments during argument reveal a stunning disregard for the

holding of McDonnell. Repeatedly, the Government invokes generalized “influence” and

generalized “pressure” and general conduct engaged in by Mr. Henon by virtue of his position.

The Government repeatedly and by necessity acts as if McDonnell was never decided and its

unwillingness to accept the legal reality under McDonnell is no more apparent than in its theory

regarding CHOP. Grappling with the fact that it failed to produce evidence to satisfy the

applicable standards, the Government made precisely the argument squarely rejected by the

Supreme Court:

                Mr. Barrett: Let me just jump in on that. He [Mr. Henon] has a
                certain position on City Council. He is a person who is in charge
                of the L&I review committee on City Council. So he is familiar
                with that, and that uniquely positions him uniquely to advise, as he
                does regularly with L&I, to do things. And that’s our view of what
                is occurring here. That is the advising that is reference in the
                McDonnell language.

(Tr. Trans. 130:12-19) (Oct. 28, 2021)).

        The Government could not have more thoroughly eviscerated its own case if it tried.

        Obviously, as described above, the ability to generally advise a committee is not an

official action. Under McDonnell, the “specific and focused” “question, matter, cause, suit,

proceeding or controversy” is the compliance of Children’s Hospital of Philadelphia (CHOP)

contractors with all applicable Philadelphia codes and regulations with respect to the installation


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of the subject MRI machines. The “decision” or “action” on that “question” or “matter” is the

decision to inspect the work sites in July and August 2015. Under McDonnell, “[s]etting up a

meeting, hosting an event, or calling an official . . . does not qualify as a decision or action on the

pending question.” McDonnell, 136 S. Ct. at 2371. For the Government to prove the CHOP

allegations, it must prove that Mr. Henon “exert[ed] pressure on another official [to inspect the

CHOP machines] or provide[d] advice, knowing and intending such advice to form the basis for

[the decision to inspect the CHOP machines.” Id. The government unquestionably ahs failed to

meet this burden as it has not established that Mr. Henon used his position to pressure L&I

officials to conduct the July or August inspections.

        With regard to the July incident, not only did Mr. Henon not pressure L&I to do

anything, he did not do anything whatsoever to bring about that inspection. The evidence

conclusively established that James Dollard, Local 98’s safety coordinator did so on July 20,

2015. See JD-017. In response to this complaint, on July 21, 2015, L&I Inspector Peter DeLisi

inspected the MRI installation, issued violations and a stop work order. JD-043. CHOP Project

Manager, James Hanson, independently decided to ignore the stop work order and complete the

installation on July 22, 2015. See 10/7/2021 Tr., Hanson, 256: 17-257:1; see also JD-036.

There, the story of the July MRI machine ends. Indeed, while the government introduced a call

between Mr. Henon and Mr. Dougherty in which Mr. Henon states “I’ll walk over personally”

after Mr. Dougherty complained the July installation continued, the Government failed to

establish the following: (1) “walk over” where?; (2) to do what?; (3) to speak with whom?; (4) to

say what? Walking over somewhere is obviously not an official act. And, of course, as this

conversation occurred on July 22, 2015 after the installation had already concluded, the answers

to these questions – which the Government never provided – are ultimately irrelevant anyway.




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        Concerning the August MRI installation, the evidence established that Local 98 Business

Agent Bob Bark contacted Mr. Henon to complain that improper electrical work was being

performed at CHOP, as is his Constitutional right. Former L&I Commissioner Carlton Williams

testified that Mr. Henon called him to report an issue at CHOP regarding an unlicensed

contractor installing an MRI. 10/12 Tr., Williams, 45:15-23; see also JD-044 (Williams

directing L&I inspectors stating “[p]lease see complaint below and investigate and take

appropriate action.”). Under McDonnell, what Mr. Henon said and did on that call determines

whether this scenario included “official action.” To that question, Commissioner Williams was

unequivocal – Mr. Henon provided information. Mr. Williams did not testify that Mr. Henon

pressured him to conduct an inspection, nor did he testify that Mr. Henon advised him to do so.

The evidence is unequivocal: Mr. Henon provided information.

        Moreover, and more fundamentally, it was Councilman Henon’s job responsibility to

forward complaints to the appropriate agency or official when received. It, therefore, is not

possible to conclude that Mr. Dougherty paid Mr. Henon a bribe to forward legitimate

complaints to L&I actions that “he would not otherwise take.” Wright, 665 F.3d at 568. The

Government has conclusively failed to carry its burden here.5



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        Moreover, the government bases these counts on Dougherty’s constitutionally protected
        right to petition government. BE&K Constr. Co. v. NLRB, 536 U.S. 516, 524 (2002)
        (explaining that the right to petition is one of “the most precious of the liberties
        safeguarded by the Bill of Rights.”) (internal citation and quotation marks omitted); see
        also Mirabella v. Villard, 853 F.3d 641, 653 (3d Cir. 2017) (“Petitioning serves
        numerous, fundamental interests of petitioners and the government alike. It is ‘essential
        to freedom,’ liberty and self-government. As such, to safeguard First Amendment
        protections, like honest services cases alleging that campaign contributions were
        impermissible bribes, the government must meet a heightened burden. See United States
        v. Davis, 841 Fed. App’x 375, 379 (3d Cir. 2021) (“[A] campaign contribution becomes
        an illegal bribe ‘only if the payments are made in return for an explicit promise or
        undertaking by the official to perform or not perform an official act.’”) (emphasis added)
        (quoting McCormick v. United States, 500 U.S. 257, 273 (1991)); United States v.


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                2.     The PPA Audit and the Plumbing Code

                Here, the government alleges that the “question, matter, cause, suit, proceeding or

controversy” is the audit of the Philadelphia Parking Authority (PPA) and the rules and

regulations that govern plumbers operating in the city of Philadelphia. The “decisions” or

“actions” on that “questions” or “matters” are the decisions that Mr. Henon made with respect to

two pieces of legislation that affected these issues. The Government simply has not met that

burden with regard to either of these issues.

                Post-Skilling, the Government must demonstrate that “the payor provided a

benefit to a public official intending that he will thereby take favorable official acts that he would

not otherwise take.” United States v. Wright, 665 F.3d 560, 568 (3d Cir. 2012) (emphasis

added). In United States v. Menedez, 291 F. Supp. 3d 606 (D.N.J. 2018), the district court

elaborated upon this requirement, noting that this inquiry is relevant to whether the defendant

payor had the “requisite intent to commit bribery.” Id. at 619. With regard to both the PPA

Audit and the Plumbing Code, it is clear that Mr. Henon was the individual who contemplated

taking action, not Mr. Dougherty, and simply sought advice from Dougherty regarding what

action to take. Id. See also United States v. Reichberg, 5 F.4th 233, 247 (2d Cir. 2021) (holding

that honest services fraud conviction required the payor to understand “that the public official

was expected, as a result of the payment to exercise particular kinds of influence as specific

opportunities arose”) (internal formatting omitted); United States v. Jennings, 160 F.3d 1006,

1014 (4th Cir. 1998) (explaining that “it is sufficient [for a bribery conviction] to show that the

        McGregor, 879 F. Supp. 2d 1308, 1312 (M.D. Ala. 2012) (“Because campaign
        contributions implicate significant First Amendment rights, courts have fashioned
        heightened standards of proof to ensure that protected political activity is not criminalized
        or unduly chilled.”). Thus, such activity cannot be criminalized absent an explicit quid
        pro quo, which the government has failed to establish with regard to Dougherty’s actions
        with regards to the violations of the Philadelphia City Code that were reported.



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payor intended for each payment to induce the official to adopt a specific course of action” and

that a quid pro quo exists if “payments were made with the intent of securing a specific type of

official action or favor in return).

                Further fatal to the Government’s case with regard to these allegations, is the fact

that Mr. Henon never took any action with regard to either subject matter. With regard to the

Plumbing Code, the Government contends that the “official act” that Mr. Henon took was that he

introduced and then sat on legislation to modernize the Plumbing Code. Indictment at ¶¶ 57-58.

However, what the evidence demonstrates is that Mr. Henon never introduced the plumbing code

at any point in time from May 2015 through August 2016 (or after). See 31-179; 31-176; 31-

184.

                Similarly, with regard to the PPA Audit, Councilmember Henon was not the

individual responsible for taking the official action on the resolution. Rather, it was Council

President Clarke who tabled the resolution. See G-310.

                3.      The Comcast Franchise Agreement

                As a threshold matter, although the Government has spent extensive time at trial

establishing that Mr. Dougherty participated in two meetings on December 2 and 3, 2015, these

meetings as a matter of law are not sufficient to establish that Mr. Henon took an official act.

See McDonnell v. United States,136 S. Ct. 2355, 2368 (2016) (“setting up a meeting, calling

another public official, or hosting an event does not standing alone qualify as an ‘official act.’”).

Moreover, each witness who testified about these meetings – Kathleen Sullivan, Mark Reilly,

and Tom Holroyd – noted that there were no explicit demands that were made during those

meetings. Rather, Mr. Dougherty was expressing his desire to get jobs for members of the

Building Trades unions. See 10/20 Tr., Sullivan, 45:10-17, 10/19 Tr. (Reilly)115:15-22.




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Therefore, as a matter of law, these meetings are insufficient to establish that Mr. Henon took an

official action.

                   Nor is Mr. Henon’s action in calling for a recess of the Public Property

Committee on December 2, 2015 or voting to approve the Comcast Franchise Agreement official

acts. As the Chair of the Public Property Committee, Mr. Henon’s action in recessing the

meeting to later that day was merely a ministerial act that does not rise to the level of “a formal

exercise of governmental power that is similar in nature to a lawsuit before a court, a

determination before an agency, or a hearing before a committee” to constitute an official act.

McDonnell v. United States, 136 S. Ct. 2355, 2372 (2016).

                   4.     Soda Tax

                   With regard to the Soda Tax, the Government contends that the “question, matter,

cause, suit, proceeding or controversy” is the consideration of legislation taxing sugary drinks,

also referred to as the “Soda Tax.” The Government’s theory has evolved in the years since the

Indictment was unsealed, and now, it is twofold. First, the Government asserts that in May 2015,

the “decision” or “action” on that “question” or “matter” was Mr. Henon’s decision to have his

staff “work with a Philadelphia advertising agency to prepare materials, including a flyer and a

script for a video, to promote his proposal for a soda tax.” (Indictment p. 126 ¶ 31.). Second, the

Government asserts that Mr. Henon took a second “decision” “in June 2016, when he voted in

favor of the Soda Tax. (Indictment p. 127 ¶ 40). The Government has not, however, established

at trial an official act sufficient to convict either Mr. Dougherty or Mr. Henon.

                   As a threshold matter, producing a commercial is obviously not a “decision or

action” on legislation. Moreover, the evidence demonstrates that a Soda Tax has been

contemplated by various City officials on numerous occasions, including twice under Mayor

Michael Nutter’s administration. See 10/7 Tr. (Blake) 45:21-24. Indeed, with regard to Soda


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Tax 1, the evidence demonstrates that Mr. Henon began researching whether imposing such a tax

would be advantageous to the City in April 2015. See 10/7 Tr. (Horvath) 177:4-8; RH 007.

After conducting this research, Mr. Henon initiated efforts to create promotional materials to

promote the soda tax, including a commercial and literature, in early May 2015. Although the

Government asserts that these efforts were taken at the behest of Mr. Dougherty after the

Teamsters created and aired a commercial critical of Mr. Dougherty, the evidence demonstrates

that that commercial aired after Mr. Henon took these actions in May 2015.

                Further fatal to the charges related to “Soda Tax 1” is that the materials that Mr.

Henon created in support of the soda tax in May 2015, none of which were ever used, were all

funded by Mr. Henon’s campaign; no governmental funds were used. See 10/7 Tr. (Horvath)

(158:11-20). Therefore, these materials and Mr. Henon’s actions associated with creating them,

cannot form the basis of an honest services charge, and judgment of acquittal must be entered

with regard to Count 104.6

                With regard to Soda Tax 2, the evidence demonstrates that the tax was strongly

supported by Mayor Jim Kenney, who sought to introduce the bill as his first major piece of

legislation. See 10/18 Tr. (Byzon) 52: 12:24 (testifying that Mayor Kenney included the need for

a Soda Tax in his first budget address). Mr. Henon independently thought that the Soda Tax was

a “good idea.” 10/7 Tr. (Horvath) 182:7-9. And, to increase the chances of the Soda Tax passing

in 2016, members of the Kenney administration lobbied Mr. Henon for his support for the tax.

Thus, the Government has not demonstrated, as it must, that this was an action that Mr. Henon –

a pro-labor councilmember at heart, who supported the Kenney Administration – would

otherwise not have taken. United States v. Wright, 665 F.3d 560, 568 (3d Cir. 2012).

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        Soda tax legislation was not introduced at any point in 2015. 10/7 Tr. (Horvath) 161:16-
        21.



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                Further, even if the Government were able to show that Mr. Dougherty believed

that Mr. Henon would not have otherwise supported the Soda Tax in the Spring of 2016 – which

is belied by Mr. Henon’s early and independent decision to create materials in support of the tax

in early May 2015 – the Government has failed to demonstrate that Mr. Dougherty acted with the

requisite intent to influence Mr. Henon to vote in favor of the tax in June 2016. Rather, Mr.

Dougherty’s own words indicate that he supported the tax in the spring of 2016 as a way of

supporting his friend, pro-labor Mayor Kenney. See 70963; see also 10/15 Tr. (Grace) 123:9-11.

In fact, it was Mayor Kenney’s administration that engaged Mr. Dougherty to help ensure that

the tax would pass. JD-193; see also 10/14 Tr. (Lazer) 121:5-16. The Kenney administration

did so, because it believed that to get the soda tax passed, it was essential that labor supported the

proposal. 10/14 Tr. (Lazer) 121:5-8; see also id. at 126:8-10 (Deputy Mayor Lazer testifying

that he though “one of the main reasons the bill was not successful in the prior

administration,[was that] it did not have labor support.” (emphasis added)). Thus, Mr. Lazer

contacted Mr. Dougherty, on behalf of the Kenney administration to schedule a meeting with the

Mayor and Mr. Dougherty to discuss “strategy on how [the Administration] would move the

bill.” 10/14 Tr. (Lazer) 126:2-13. After that meeting, in an attempt to ensure that the tax would

pass, Mr. Dougherty arranged and attended a meeting with key members of the Kenney

administration and representatives of Coca Cola and “local soda mogul,” Harold Honickman.

See JD-193. Mr. Henon did not attend this meeting. 10/19 Tr. (Blake) 42:19-22.

                Therefore, because the Government has not met its burden with regard to Soda

Tax 1 and 2, judgment of acquittal must be entered with regard to Counts 98, 104, and 108.

                5.     Towing

                With regard to the towing-related charges, Government contends that the

“question, matter, cause, suit, proceeding or controversy” is the review of towing practices


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within the City of Philadelphia. The Government asserts that in May 2015, the “decision” or

“action” on that “question” or “matter” was Mr. Henon’s decision to have an intern draft a non-

binding resolution that called for hearings regarding a company’s towing practices within the

City of Philadelphia. However, the Government has failed to establish that this constitutes an

official act.

                The evidence demonstrates that Mr. Dougherty had his car towed on the night of

September 22, 2014. A week later, on September 29, 2015, Mr. Henon’s Chief of Staff directed

an unpaid intern, Tom Holroyd, to investigate the towing practices of the company that towed

Mr. Dougherty’s car. 10/19 Tr. (Holroyd) 230:5-9; 10/19 Tr. (Holroyd) at 79:8-16. As part of

that investigation, Mr. Holroyd traveled to George Smith Towing, where he witnessed firsthand

violations of the Philadelphia City Code regarding cash payments to tow truck operators. 10/19

Tr. (Holroyd) 83:17-22. The Chief of Staff also directed Holroyd to draft a resolution calling for

hearings on this towing company’s business practices. 10/19 Tr. (Holroyd) at 79:17-25.

Ultimately, however, the towing resolution was never introduced to City Council and no official

action was ever taken upon it. See 10/19 Tr. (Holroyd) at 89:25-90:9. Moreover, given that Mr.

Holroyd was an unpaid intern, and therefore, was not an employee of the city at the time he took

these action, it cannot be said that his actions are sufficient to establish that Mr. Henon took an

official action at Mr. Dougherty’s request. Therefore, judgment of acquittal must be entered

with regard to the towing resolution related counts of the Indictment.

                Moreover, the evidence presented at trial demonstrates that even if having an

unpaid intern draft a non-binding resolution that called for hearings constituted an official act,

Mr. Henon would have taken action regardless of Mr. Dougherty’s experience on the night of

September 22, 2015. First, as Mr. Holroyd testified, Mr. Henon had had his own car previously




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towed by George Smith Towing and was required to pay cash (in violation of Philadelphia City

Code) to get it back. 10/19 Tr. (Holroyd) at 82:20-83:6; see also RH 92. In fact, Mr. Holroyd

testified that “the incident was very frustrating to [Mr. Henon]. He was in the office, around this

time, discussing this resolution, upset about it.” 10/19 Tr. (Holroyd) 83:4-6. While Mr. Henon

had contemplated introducing a resolution in response to his own experience, it was Mr. Holroyd

who dissuaded him from doing so¸ telling him that it would appear “vindictive.” 10/19 Tr.

(Holroyd) 88:17-25. And, on August 20, 2015, a month before Mr. Dougherty’s car was towed,

Mr. Henon was quoted in an article advocating against the illegal towing practices of another

company. RH 9. In that article, Mr. Henon directed his constituents to contact his office

regarding any negative experiences with tow truck operators. Id. Therefore, the Government

has failed to establish that Mr. Henon would have otherwise not have taken action against

George Smith Towing, and judgment of acquittal must be entered with respect to Count 102.

        D.      This is Really A Conflict of Interest Case

                As Dougherty asserted in his motion to dismiss, the government attempts to

circumvent the Skilling’s prohibition on honest services fraud based upon an undisclosed conflict

of interest by alleging that Dougherty bribed Councilmember Henon. That the evidence here is

insufficient to establish the government’s burden of establishing a quid pro quo is apparent when

one compares the government’s evidence here with a case brought pre-Skilling based upon the

non-impermissible theory of honest services fraud: United States v. Panerella, 277 F.3d 678 (3d

Cir. 2002).

                In Panerella, the defendant, who operated a tax collection business that entered

into contracts with state and local governments to collect taxes, was convicted of aiding and

abetting honest services fraud. Over a four- year period, the defendant engaged a state senator as

a business consultant, paying him $330,000 over the period. The state senator supported the


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defendant’s business efforts by “appearing with [the defendant] before local governments in

Pennsylvania and attending meetings with him and the Secretaries of two Pennsylvania state

agencies . . . in an attempt to obtain state collection contracts” for the defendant. Id.at 681. The

state senator also “spoke and voted against proposed legislation” that would have harmed the

defendant’s business. The state senator did not disclose his income from the defendant as

required under Pennsylvania law. Further, “[t]o conceal his financial relationship with [the state

senator], [the defendant] directed third parties to make payments to [the state senator] on [the

defendant’s] behalf.” Id.

                In finding that the facts alleged in the superseding information were sufficient to

sustain his guilty plea, the court held that “where a public official takes discretionary action that

the official knows will directly benefit a financial interest that the official has concealed in

violation of a state criminal law, that official has deprived the public of his honest services under

18 U.S.C. § 1346.” Id.at 691. The court relied heavily upon the fact that the state senator’s

conduct was illegal under state law. See id. at 694 (“[t]he intrusion into state autonomy is

significantly muted, since the conduct that amounts to honest services fraud is conduct that the

state itself has chosen to criminalize.”). The information that the state senator chose to conceal

from the public – that he had a financial relationship with the defendant – was material because

at the time of the nondisclosure he was taking discretionary action that directly benefited the

defendant’s business. Id. at 696. And, according to the court

                “[t]he only difference between a public official who accepts a bribe
                and a public official who receives payments while taking
                discretionary action that benefits the payor . . . is the existence of a
                quid pro quo whereby the public official and the payor agreed that
                the discretionary action taken by the public official is in exchange
                for payment. Recognizing the practical difficulties in proving the
                existence of such a quid pro quo, disclosure laws permit the public




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                to judge for itself whether an official has acted on a conflict of
                interest.”

Id. at 697 (emphasis added). Post-Skilling, the defendant moved to vacate his conviction. The

court granted relief, recognizing that the theory the government used to prosecute the defendant

was no longer viable. See United States v. Panerella, No. 00-655, 2011 U.S. Dist. LEXIS 84102

(E.D. Pa. Aug. 1, 2011).

                Here, the facts are analogous to Panerella, as the government has not established

that there was a quid pro quo. Rather, all the Government has shown is that in 2012, when

Henon became a member of Philadelphia’s City Council, he retained employment at Local 98.

This was lawful under the Philadelphia Code, which permits outside employment. RH002,

RH004, RH005. Indeed, numerous other City Councilmembers, like Councilmember Henon,

maintain outside employment. See RH002, RH004, RH005. Government then devoted the

entirety of its case not to proving that bribery occurred, but that Mr. Henon took actions to

benefit Local 98, in which he had a personal interest. That is no longer a viable honest services

fraud theory.

                Moreover, the Government would have failed to prove a pre-Skilling conflict of

interest case anyway. Unlike the state senator in Panrella, however, Councilmember diligently

disclosed his position with Local 98 on his state and city Statements of Financial Interest. See G-

513 & G-514. Although these forms did not require that Councilmember Henon disclose the

amount of his salary, that amount was disclosed to the public through Local 98’s LM-2s. See G-

501. Given that these facts would be insufficient to convict Mr. Dougherty under a conflicts of

interest theory of honest services fraud, they are clearly insufficient to establish his guilt beyond

a reasonable doubt post-Skilling.




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        E.      Charged Wires Cannot Be Attributed to Mr. Dougherty

                To the extent Mr. Dougherty is charged with wire fraud where the transmission of

Mr. Henon’s paycheck is alleged as the wire transmission, those counts fail.

                Where one does an act with knowledge that the use of the mails will follow in the

ordinary course of business, or where such use can reasonably be foreseen, even though not

actually intended, then he ‘causes'’the mails to be used.” United States v. Bruno, No. 2:13-cr-

00039-6, 2014 U.S. Dist. LEXIS 62313, at *27 (E.D. Pa. May 6, 2014) (internal citation and

quotations omitted); Pereira v. United States, 347 U.S. 1, 8-9, 74 S. Ct. 358, 363 (1954). In

United States v. Bentz, 21 F.3d 37 (3d Cir. 1994), the Third Circuit, “[r]ecognizing that cases

construing the mail fraud statute are applicable to the wire fraud statute as well,” examined the

record to determine whether the evidence was sufficient to support a finding that the defendant

knew that the wire at issue in that case would be used in the ordinary course of business, or

should reasonably have foreseen its use. The Court began by noting that the two methods for

proving causation of a wire are theoretically distinct – “[u]nder Pereira, the ordinary course of

business prong requires knowledge, whereas reasonable foreseeability is an objective test.”

Bentz, 21 F.3d at 40-41 (citing United States v. Muni, 668 F.2d 87, 90 (2d Cir. 1981)).

                With respect to the first method, the Court underscored that “[u]se of the wire in

the ordinary course of business alone is not enough; the defendant must have knowledge of that

course of business.” Id. (emphasis added). The court found that nothing in the record supported

an inference that the defendant, a general foreman and assistant plant manager for a scrap metals

broker, knew that his employer used wire transmissions in the ordinary course of its business.

With respect to the second method, the court likewise found that there was insufficient evidence

to conclude that the defendant should reasonably have anticipated that his employer – which




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operated a scrap metal storage facility in Pennsylvania which issued checks drawn on a

Pennsylvania bank – made wire transmissions when preparing his checks. Id. at 41.

                Here, the Government has offered no evidence that Mr. Dougherty knew or

contemplated the wires would be used to facilitate the offense. Indeed, as discussed above, the

record reflects that the decision to pay and how to pay Mr. Henon was made by Brian Burrows,

Local 98’s President. Tr. 10/15 (Judge) at 59:16 – 60:1. Thus, absent any evidence that Mr.

Dougherty either knew that the wires or mail would be used or that he should have reasonably

foreseen their use, judgment of acquittal must be entered.

IV.     CONCLUSION

                For the reasons set forth above, judgment of acquittal must be entered as to all

counts against Mr. Dougherty.

Date: October 29, 2021

                                                      Respectfully submitted,

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